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      Attorneys for Plaintiff LUIS
 13   LORENZO VARGAS
 14                       UNITED STATES DISTRICT COURT

 15         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 16
 17   LUIS LORENZO VARGAS,                         Case No. 2:16-cv-08684-SVW-AFM
 18                                    Plaintiff, JOINT EXHIBIT LIST
 19               v.                               HON. STEPHEN V. WILSON
 20                                                CTRM 10A
      CITY OF LOS ANGELES; LOS
 21   ANGELES POLICE                               Complaint Filed: November 12, 2016
      DEPARTMENT; COUNTY OF LOS
 22   ANGELES; OFFICE OF THE LOS                   Trial Date:      June 25, 2016
      ANGELES DISTRICT ATTORNEY;
 23   LOS ANGELES SHERIFF’S
      DEPARTMENT; MONICA
 24   QUIJANO; RICHARD TAMEZ;
      SCOTT SMITH; AND DOES 1-10
 25   INCLUSIVE,
 26                                  Defendants.
 27
                                              -1-
 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

                                                        CASE NO. 2:16-CV-08684-SVW(AFM)
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  1   PLAINTIFFS’ EXHIBIT LIST:
       No. of  Description                       Date Id’d        Date Admitted
  2    Exhibit
  3      1.    Amended Notice of Taking
               Depo of Plaintiff (Ex 1 to the
  4            Depo Transcript of Luis
  5            Vargas)
         2.    Six Pack Line Up (Ex 2 to
  6            the Depo Transcript of Luis
  7            Vargas)
         3.    Six Pack Line Up (Ex 3 to
  8            the Depo Transcript of Luis
  9            Vargas)
         4.    Six Pack Line Up (Ex 4 to
 10
               the Depo Transcript of Luis
 11            Vargas)
         5.    Crime Alert Publication (Ex
 12
               5 to the Depo Transcript of
 13            Luis Vargas)
 14      1.    Karen P. Preliminary
               Investigation (Ex 1 to the
 15            Depo Transcript of Sgt.
 16            Richard Tamez)
         2.    Color Photocopy of Six Pack
 17            Line Up (Ex 2 to the Depo
 18            Transcript of Sgt. Richard
               Tamez)
 19      3.    Photo ID General Guidelines
 20            (Ex 3 to the Depo Transcript
               of Sgt. Richard Tamez)
 21      4.    Photocopy of Marked Six
 22            Pack (Ex 4 to Depo
               Transcript of Sgt. Richard
 23            Tamez)
 24      5.    Photocopy of the Karen P.
               Photo ID Report (Ex 5 to the
 25            Depo Transcript of Sgt.
 26            Richard Tamez)
 27
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 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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  1      6.      Suspect Composite Sketch
                 (Ex 6 to the Depo Transcript
  2              of Sgt. Richard Tamez)
  3      7.      Lineup Detail Packet (Ex 7 to
                 the Depo Transcript of Sgt.
  4              Richard Tamez)
  5      8.      Color Photocopy of Six Pack
                 Lineup Marked B (Ex 8 to
  6              the Depo Transcript of Sgt.
  7              Richard Tamez)
         9.      Color Photocopy of Six Pack
  8              Lineup Marked A (Ex 9 to
  9              the Depo Transcript of Sgt.
                 Richard Tamez)
 10
         10.     Crime Alert Flyer (Ex 10 to
 11              the Depo Transcript of Sgt.
                 Richard Tamez)
 12
         11.     Wanted Flyer (Ex 11 to the
 13              Depo Transcript of Sgt.
                 Richard Tamez)
 14
         12.     Reserved
 15      13.     LAPD Follow Up
 16              Investigation (Ex 13 to the
                 Depo Transcript of Sgt.
 17              Richard Tamez)
 18      14.     LAPD Preliminary
                 Investigation (Ex 14 to the
 19              Depo Transcript of Sgt.
 20              Richard Tamez)
         15.     LAPD Follow Up
 21              Investigation (Ex 15 to the
 22              Depo Transcript of Sgt.
                 Richard Tamez)
 23      16.     Crime Alert Flyer (Ex 16 to
 24              the Depo Transcript of Sgt.
                 Richard Tamez)
 25      17.     LAPD Preliminary
 26              Investigation (Ex 17 to the
 27
                                           -3-
 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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  1              Depo Transcript of Sgt.
                 Richard Tamez)
  2      18.     LAPD Preliminary
  3              Investigation (Ex 18 to the
                 Depo Transcript of Sgt.
  4              Richard Tamez)
  5      19.     LAPD Preliminary
                 Investigation (Ex 19 to the
  6              Depo Transcript of Sgt.
  7              Richard Tamez)
         20.     LAPD Preliminary
  8              Investigation (Ex 20 to the
  9              Depo Transcript of Sgt.
                 Richard Tamez)
 10
         21.     Second Amended Notice of
 11              Deposition (Ex 21 to the
                 Depo Transcript of Sharlene
 12
                 Johnson)
 13      22.     Declaration of Det. Sharlene
                 Johnson (Ex 22 to the Depo
 14
                 Transcript of Sharlene
 15              Johnson)
 16      23.     Reward Flyer (Ex 23 to the
                 Depo Transcript of Sharlene
 17              Johnson)
 18      24.     Reserved
         25.     Reserved
 19      26.     Reserved
 20      27.     Reserved
         28.     Reserved
 21      29.     Reserved
 22      30.     Depo Notice (Exhibit 30 to
                 the Depo Transcript of Sgt.
 23              William Scott Carty)
 24      31.     Plaintiff’s Second Amended
                 Notice (Exhibit 31 to the
 25              Depo Transcript of Det. Dan
 26              Jenks)
 27
                                           -4-
 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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  1      32.     Defendant’s Objections to
                 Plaintiff’s Second Amended
  2              Notice of Deposition (Exhibit
  3              32 to the Depo Transcript of
                 Det. Dan Jenks)
  4      33.     LAPD Supplemental
  5              Responses and Objections
                 (Exhibit 33 to the Depo
  6              Transcript of Det. Dan Jenks)
  7      34.     Detective Operational
                 Manual (Exhibit 34 to the
  8              Depo Transcript of Det. Dan
  9              Jenks)
         35.     Memo Number 1 (Exhibit 35
 10
                 to the Depo Transcript of
 11              Det. Dan Jenks)
         35.     Declaration of Detective
 12
                 Monica Quijano (Exhibit 35
 13              to the Depo Transcript of
                 Det. Monica Quijano)
 14
         36.     Sketch, Bates No Vargas-
 15              LAPD1 (Exhibit 36 to the
                 Depo Transcript of Det.
 16
                 Monica Quijano)
 17      37.     Serial Rapist Alert, Bates No.
 18              Vargas-LAPD 329 (Exhibit
                 37 to the Depo Transcript of
 19              Det. Monica Quijano)
 20      38.     Pages from the LAPD Serial
                 Rapist Book, Bates No.
 21              Vargas-LAPD 15-28 (Exhibit
 22              38 to the Depo Transcript of
                 Det. Monica Quijano)
 23      39.     Copy of Handwritten Notes,
 24              Bates No Vargas-LAPD 336
                 (Exhibit 39 to the Depo
 25              Transcript of Det. Monica
 26              Quijano)

 27
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 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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  1      40.     Copy of Handwritten notes,
                 Bates No. Vargas-LAPD
  2              337-338 (Exhibit 40 to the
  3              Depo Transcript of Det.
                 Monica Quijano)
  4      41.     Los Angeles Sheriff Dept.
  5              Lineup Detail Bates No.
                 Vargas-LAPD 363 (Exhibit
  6              41 to the Depo Transcript of
  7              Det. Monica Quijano)
         42.     Copy of Handwritten Notes,
  8              Bates No. Vargas-LAPD 344
  9              (Exhibit 42 to the Depo
                 Transcript of Det. Monica
 10              Quijano)
 11      43.     LAPD Run on Parolees,
                 Bates Nos. Vargas-LAPD
 12
                 348-361 (Exhibit 43 to the
 13              Depo Transcript of Det.
                 Monica Quijano)
 14
         44.     Arrest Report, Bates No
 15              Vargas-LAPD 362 (Exhibit
                 44 to the Depo Transcript of
 16
                 Det. Monica Quijano)
 17      45.     Query on Gang Monikers,
 18              Bates No. Vargas-LAPD
                 375-390 (Exhibit 45 to the
 19              Depo Transcript of Det.
 20              Monica Quijano)
         40.     Amended Notice of
 21              Deposition (Ex 40 to the
 22              Depo Transcript of Det. Scott
                 Smith)
 23      41.     LAPD Serial Rapist Book
 24              (Ex 41 to the Depo Transcript
                 of Det. Scott Smith)
 25      42.     Preliminary Investigation of
 26              Kidnapping (Ex 42 to the

 27
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 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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  1              Depo Transcript of Det. Scott
                 Smith)
  2      43.     Follow Up Investigation (Ex
  3              43 to the Depo Transcript of
                 Det. Scott Smith)
  4      44.     Preliminary Investigation of
  5              Attempted Rape (Ex 44 to the
                 Depo Transcript of Det. Scott
  6              Smith)
  7      45.     Follow Up Investigation (Ex
                 45 to the Depo Transcript of
  8              Det. Scott Smith)
  9      46.     Reserved
         47.     Reserved
 10
         48.     Reserved
 11      49.     Reserved
 12      50.     Plaintiff Amended Notice of
                 Depo (Ex 50 to the Depo
 13              Transcript of Det. Richard
 14              McCauley)
         51.     LAPD Serial Rapist Book
 15              (Ex 51 to the Depo Transcript
 16              of Det. Richard McCauley)
         52.     LAPD Preliminary
 17              Investigation of Kidnapping
 18              (Ex 52 to the Depo Transcript
                 of Det. Richard McCauley)
 19      53.     Follow Up Investigation (Ex
 20              53 to the Depo Transcript of
                 Det. Richard McCauley)
 21      54.     LAPD Preliminary
 22              Investigation of Attempt
                 Rape (Ex 54 to the Depo
 23              Transcript of Det. Richard
 24              McCauley)
         55.     Letter dated 2/6/18 (Ex 55 to
 25              the Depo Transcript of Det.
 26              Richard McCauley)
 27
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 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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  1      56.     Deposition Notice (Ex 56 to
                 Depo Transcript of Det.
  2              Adolfo Contreras)
  3      57.     Serial Rapist Alert (Ex 57 to
                 Depo Transcript of Det.
  4              Adolfo Contreras)
  5      58.     LAPD Serial Rapist Book
                 (Deposition Notice (Ex 58 to
  6              Depo Transcript of Det.
  7              Adolfo Contreras-
                 Confidential)
  8      59.     Follow Up Investigation
  9              Report (Ex 59 to Depo
                 Transcript of Det. Adolfo
 10
                 Contreras- Confidential)
 11      60.     Follow Up Investigation
                 Report (Ex 60 to Depo
 12
                 Transcript of Det. Adolfo
 13              Contreras- Confidential)
         61.
 14
         62.
 15      63.
 16      64.
         65.
 17      66.
 18      67.
         68.
 19      69.
 20      70.     Wanted Sketch and
                 Description (01/24/98) Bate
 21              Stamped 001-002
 22      71.     Crime Alert 77th Area and
                 Sketch (06/15/98) Bate
 23
                 Stamped 003-004
 24      72.     Crime Alert 77th Street Area
                 (03/25/99) Bate Stamped 005
 25
         73.     Crime Alert 77th Street Area
 26              (05/21/99) Bate Stamped 006
 27
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 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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  1      74.     Prelim Investigation Form
                 (01/24/98) Bate Stamped
  2              007-008
  3      75.     Profile Sketch (02/05/98)
                 Bate Stamped 009
  4      76.     Follow-Up Investigation
  5              Form (03/18/98) Bate
                 Stamped 010-012
  6      77.     Follow-Up Investigation
  7              Form (09/17/98) Bate
                 Stamped 013-014
  8
         78.     Serial Rapist Book
  9              Chronological Record, Bate
                 Stamped 015-027
 10
         79.     Follow-Up Investigation
 11              Form (06/09/98) Bate
                 Stamped 028
 12
         80.     Event Master Inquiry
 13              (06/16/98) Bate Stamped
 14              029-030
         81.     Arrest Report (7/21/98) Bate
 15              Stamped 031-034
 16      82.     Booking Recommendation
                 Form, Bate Stamped 035
 17      83.     Probable Cause
 18              Determination Form
                 (07/21/98) Bate Stamped
 19              036-038
 20      84.     City Attorney Disclosure
                 Statement (07/21/98) Bate
 21              Stamped 038
 22      85.     Probable Cause
                 Determination Form
 23              (07/21/98) Bate Stamped
 24              039-040
         86.     Property Report Vargas
 25              Whole Blood Signed Copy
 26              (07/21/98) Bate Stamped 041
 27
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 28            PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       87.      Property Report Vargas
                 Whole Blood (07/21/98) Bate
2                Stamped 042
3       88.      Follow-Up Investigation
                 Report (07/22/98) Bate
4                Stamped 043
5       89.      Analyzed Evidence Report
                 (07/29/98) Bate Stamped 044
6       90.      Analyzed Evidence Report
7                (07/29/98) Bate Stamped 045
        91.      Analyzed Evidence Report
8
                 (07/29/98) Bate Stamped 046
9       92.      Serology Case Summary
                 Sheet Semen Analysis
10
                 (07/29/98) Bate Stamped
11               047-053
        93.      Photocopy of Mug Shots
12
                 (054)
13      94.      Follow-Up Investigation
14               Report (07/23/98) Bate
                 Stamped 055-056
15      95.      Follow-Up Investigation
16               Report (08/03/98) Bate
                 Stamped 057-061
17      96.      Rap Sheet of Vargas, Bate
18               Stamped 062-065
        97.      Criminal History Transcript
19               of Vargas, Bate Stamped
20               066-076
        98.      Vehicle History Sheet, Bate
21               Stamped 077
22      99.      Letter from Vargas to
                 Georgina Martinez
23               Translated (08/03/98) Bate
24               Stamped 078-081
        100.     Letter from Vargas to
25               Georgina Martinez
26               (07/26/98) Bate Stamped
                 082-087
27
                                         - 10 -
28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       101.     Written Permission from
                 Georgina (07/30/98) Bate
2                Stamped 088
3       102.     Facsimile Transmittal Sheet
                 (10/06/98) Bate Stamped 089
4       103.     Medical Report of Teresa
5                (06/06/98) Bate Stamped
                 090-094
6       104.     Illegible Document, Bate
7                Stamped 095
        105.     DFM Hospital Adult
8
                 Addendum of Teresa, Bate
9                Stamped 096-097
        106.     DFM Suspect Database
10
                 Profile of Teresa, Bate
11               Stamped 098-099
        107.     Analyzed Evidence Report
12
                 (08/10/98) Bate Stamped 100
13      108.     Property Report Vargas
14               Kitchen Knife and Letter
                 (07/30/98) Bate Stamped 101
15      109.     Property Report Vargas
16               Kitchen Knife and Letter
                 (07/30/98) Bate Stamped 102
17      110.     Analyzed Evidence
18               (07/21/98) Bate Stamped 103
        111.     Notes of Address and Phone
19               Number (09/14/98) Bate
20               Stamped 104
        112.     Statement Sheet on DR
21               981218195, Bate Stamped
22               105
        113.     Statement Sheet on DR
23               981217638, Bate Stamped
24               106
        114.     Detective’s Case Envelope,
25               Bate Stamped 107
26      115.     Notes, Bate Stamped 108
27
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28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       116.     Photocopies of Vargas
                 Mugshot, Bate Stamped 109-
2                110
3       117.     Subpoena for Appearance of
                 Witness Teresa R (09/14/98)
4                Bate Stamped 111
5       118.     Investigator’s Final Report
                 (07/22/98) Bate Stamped 112
6       119.     CPS Orange County Notice
7                of Debt Letter (11/05/98)
                 Bate Stamped 113-116
8
        120.     Message Memo (05/24) Bate
9                Stamped 117
        121.     Witness Fees and Expense
10
                 Claims, Bate Stamped 118-
11               120
        122.     Subpoena for Appearance of
12
                 Witness Edith G (10/26/98)
13               Bate Stamped 121
14      123.     Subpoena for Appearance of
                 Witness Teresa R (10/26/98)
15               Bate Stamped 122
16      124.     Copy of Business Card of
                 Anthony J Patti and Schedule
17               for 11/14/98, Bate Stamped
18               123
        125.     Subpoena for Appearance of
19               Witness Edith G (01/13/98)
20               Bate Stamped 124
        126.     Subpoena for Appearance of
21               Witness Karen P (01/13/98)
22               Bate Stamped 125
        127.     Subpoena for Appearance of
23               Witness Teresa R (01/13/98)
24               Bate Stamped 126
        128.     Investigator’s Final Report
25               (07/22/98) Bate Stamped
26               127-128
27
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28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       129.     Subpoena for Appearance of
                 Witness Edith G (08/10/98)
2                Bate Stamped 129
3       130.     Order to Transport Defendant
                 Vargas (07/23/98) Bate
4                Stamped 130
5       131.     Output Message Re Sex
                 Offender Reg of Vargas
6                (07/16/98) Bate Stamped 131
7       132.     Output Message Re Sex
                 Offender Reg of Vargas
8                (07/22/98) Bate Stamped
9                132-133
        133.     Output Message Re Sex
10
                 Offender Reg of Vargas
11               (07/21/98) Bate Stamped 134
        134.     Booking No Inquiry
12
                 (07/23/98) Bate Stamped 135
13      135.     Probable Cause
14               Determination Inquiry
                 (07/23/98) Bate Stamped 136
15      136.     Status Inquiry of Vargas
16               (07/27/98) Bate Stamped
                 137-138
17      137.     Master Witness List
18               (10/26/98) Bate Stamped
                 139-140
19      138.     Subpoena Duces Tecum
20               (09/03/98) Bate Stamped 141
        139.     Signed Application for
21               Subpoena Duces Tecum
22               (09/03/98) Bate Stamped 142
        140.     APS Defendant Inquiry
23               (07/16/98) Bate Stamped 143
24      141.     Case Detail Inquiry
                 (07/16/98) Bate Stamped
25               144-161
26      142.     TCIS Case Summary, Bate
                 Stamped 162
27
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28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       143.     Prelim Investigation Of
                 Attempt Kidnap, Bate
2                Stamped 163-164
3       144.     Follow-Up Investigation
                 (07/02/99) Bate Stamped
4                165-166
5       145.     Prelim Investigation of Rape
                 (06/22/98) Bate Stamped 167
6       146.     Medical Report of Shonte S
7                (06/22/98) Bate Stamped
                 168-172
8
        147.     Property Report Confidential
9                Sexual Assault Evidence,
                 Bate Stamped 173
10
        148.     Prelim Investigation of
11               Attempt Robbery, Bate
                 Stamped 174-175
12
        149.     Prelim Investigation of
13               Attempt Robbery and Sexual
14               Battery (11/06/98) Bate
                 Stamped 176-177
15      150.     Prelim Investigation of
16               Kidnapping (02/14/99) Bate
                 Stamped 178-179
17      151.     Follow-Up Investigation
18               Kidnapping, Bate Stamped
                 180-181
19      152.     Detective’s Case Progress
20               Log (03/25/99) Bate Stamped
                 182
21      153.     Call For Service (05/09/12)
22               Bate Stamped 183
        154.     Investigator Contact
23               (03/08/99) Bate Stamped 184
24      155.     Follow-Up Investigation of
                 Attempt Rape, Bate Stamped
25               185-186
26      156.     Detective’s Case Progress
                 Log, Bate Stamped 187
27
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28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       157.     IO Notes (05/20/99) Bate
                 Stamped 188-190
2       158.     IO Notes (05/21/99) Bate
3                Stamped 191
        159.     IO Notes (05/26/99) Bate
4                Stamped 192
5       160.     Prelim Investigation of
                 Attempt Robbery Kidnap
6                Attempt Rape (09/10/99)
7                Bate Stamped 193-195
        161.     Attorney Notes (09/03/98)
8
                 Bate Stamped 196
9       162.     Fax Transmission Cover
                 Sheet (09/02/98) Bate
10
                 Stamped 197
11      163.     Prelim Investigation of
                 Robbery Penetration with
12
                 Foreign Object (04/29/93)
13               Bate Stamped 198-199
14      164.     Crime Alert Notice and
                 Sketch, Bate Stamped 200-
15               201
16      165.     Sketch of Suspect (02/05/98)
                 Bate Stamped 202
17      166.     Lineup Detail Witnesses
18               Sign-In Sheet, Bate Stamped
                 203
19      167.     Lineup Detail Form, Bate
20               Stamped 204
        168.     Notes (11/04/98) Bate
21               Stamped 205-206
22      169.     Witness Form (11/04/98)
                 Bate Stamped 207
23      170.     Witness Form (11/04/98)
24               Bate Stamped 208
        171.     List of Documents, Bate
25               Stamped 209
26      172.     Follow-Up Investigation
                 Attempt Kidnap Attempt
27
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28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1                Rape (03/12/98) Bate
                 Stamped 210
2       173.     Sketch of Suspect (02/05/98)
3                Bate Stamped 211
        174.     Property Report Vargas
4                Whole Blood, Bate Stamped
5                212
        175.     Arraignment Information,
6                Bate Stamped 213
7       176.     Declaration of Bail
                 Deviation, Bate Stamped 214
8
        177.     Follow-Up Investigation
9                Attempt Rape (08/03/98)
                 Bate Stamped 215-219
10
        178.     Arrest Report of Vargas, Bate
11               Stamped 220-223
12      179.     Sketch of Suspect (06/12/98)
                 Bate Stamped 224
13      180.     Statement Sheet on DR
14               981217638, Bate Stamped
                 225
15      181.     Letter from Vargas to
16               Georgina Martinez
                 (07/26/98) Bate Stamped
17               226-228
18      182.     Letter from Vargas to
                 Georgina Martinez
19               Translated (08/03/98) Bate
20               Stamped 229-231
        183.     Written Permission from
21               Georgina (07/30/98) Bate
22               Stamped 232
        184.     Statement Sheet Interview
23               with Georgina Martinez, Bate
24               Stamped 233
        185.     Legal Affairs Division
25               Newsletter Issue 4 May 1995,
26               Bate Stamped 234-235
27
                                          - 16 -
28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       186.     Legal Bulletin Criminal
                 Discovery Volume 1 Issue 4
2                (02/09/76) Bate Stamped
3                236-237
        187.     Crime Alert Newton Area
4                (09/28/99) Bate Stamped 238
5       188.     Prelim Investigation Attempt
                 Rape (07/29/96) Bate
6                Stamped 239-240
7       189.     Follow-Up Investigation
                 Attempt Rape (08/12/96)
8                Bate Stamped 241-242
9       190.     Prelim Investigation Attempt
                 Rape (09/12/96) Bate
10
                 Stamped 243-244
11      191.     Req for Confidentiality of
                 Info (06/30/97) Bate Stamped
12
                 245
13      192.     Prelim Investigation Sexual
14               Battery (07/01/97) Bate
                 Stamped 246-247
15      193.     Prelim Investigation Rape
16               Kidnap (07/03/97) Bate
                 Stamped 248-250
17      194.     Req for Confidentiality of
18               Info (02/11/98) Bate Stamped
                 251
19      195.     Prelim Investigation
20               (12/12/98) Bate Stamped
                 252-254
21      196.     Property Report Rape Kit
22               (02/11/98) Bate Stamped 255
        197.     Notes (06/22/98) Bate
23               Stamped 256
24      198.     Req for Confidentiality of
                 Info (02/11/98) Bate Stamped
25               257
26      199.     Prelim Investigation Rape
                 (06/22/98) Bate Stamped 258
27
                                         - 17 -
28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       200.     Call For Service (05/09/12)
                 Bate Stamped 259-260
2       201.     Statement Form Shonte S
3                (05/24/12) Bate Stamped
                 261-262
4       202.     Handwritten Notes
5                (05/24/12) Bate Stamped
                 263-271
6       203.     Follow-Up Investigation
7                Report (08/12/14) Bate
                 Stamped 272
8
        204.     Photos of Live Line-up
9                Suspects, Bate Stamped 273
        205.     Notes (06/16/98) Bate
10
                 Stamped 274
11      206.     Crime Alert Southwest Area
                 and Sketch of Suspect
12
                 (02/27/97) Bate Stamped
13               275-276
14      207.     Photos of Live Line-up
                 Suspects, Bate Stamped 277
15      208.     Notes, Bate Stamped 278
16      209.     Photo ID General Guidelines,
                 Bate Stamped 279
17      210.     Photo ID Report, Bate
18               Stamped 280
        211.     Photos of Live Line-up
19               Suspects, Bate Stamped 281
20      212.     Criminal History Transcript
                 of Contreras M G (06/17/98)
21               Bate Stamped 282-285
22      213.     Rap Sheet of Contreras M G
                 (06/17/98) Bate Stamped
23               286-287
24      214.     Crime Alert Southwest Area
                 and Sketch of Suspect
25               (02/27/97) Bate Stamped
26               288-289
27
                                          - 18 -
28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       215.     Detective Operations Manual
                 (09/15/86) Bate Stamped
2                290-291
3       216.     Personal Oddities Summary
                 List (06/16/98) Bate Stamped
4                292-293
5       217.     Copy of Marily Droz
                 Business Card, Bate Stamped
6                302
7       218.     Partial Letter from Vargas to
                 Georgina Martinez, Bate
8                Stamped 303
9       219.     Follow up Investigation DR
                 981305978, Bates No. 560,
10
                 561 (Ex 220 to the Depo
11               Transcript of Rorie Frank)
        220.     Arrest Report DR 9812-
12
                 18195 Bates No. 347-352,
13               476-480 (Ex 221 to the Depo
                 Transcript of Rorie Frank)
14
        221.     Follow up Investiation Bates
15               No. 205, 481-483, 488 (Ex
16               222 to the Depo Transcript of
                 Rorie Frank)
17      222.     Lineup Detail, Witnesses
18               Sign In Sheet (Ex 223 to the
                 Depo Transcript of Rorie
19               Frank)
20      223.     Composite (Bates No 291)
                 and Follow up Investigation
21               Dr. 9806-14590 Bates No
22               292-299 (Ex 224 to the Depo
                 Transcript of Rorie Frank)
23      224.     Preliminary Hearing Bates
24               No 371-415 (Ex 225 to the
                 Depo Transcript of Rorie
25               Frank)
26      225.     Information Summary Bates
                 No 00046-51 (Ex 226 to the
27
                                           - 19 -
28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1                Depo Transcript of Rorie
                 Frank)
2       226.     Memo Dates 2/3/99 Bates
3                No. 243 (Ex 227 to the Depo
                 Transcript of Rorie Frank)
4       227.     Notice of Motion and Motion
5                for Separate Trials Bates No
                 603-611 (Ex 228 to the Depo
6                Transcript of Rorie Frank)
7       228.     DR Numbers Bates 582-583
                 (Ex 229 to the Depo
8                Transcript of Rorie Frank)
9                Marked Confidential
        229.     Vargas BA171718 Bates No
10
                 87 (Ex 230 to the Depo
11               Transcript of Rorie Frank)
        230.     Witness List Defense Bates
12
                 No 460 (Ex 232 to the Depo
13               Transcript of Rorie Frank)
                 Marked Confidential
14
        231.     Notice of Appeal and Motion
15               for Appointment of Counsel
16               on Appeal Bates No. 344 (Ex
                 232 to the Depo Transcript of
17               Rorie Frank)
18      232.     LexisNexis Bates No. 294-
                 296 (Ex 233 to the Depo
19               Transcript of Rorie Frank)
20      233.     Edith Gonzalez Description
                 of Knife, Bate Stamped 304
21      234.     Rosales Description of Knife
22               (7/22/98) Bate Stamped 305
        235.     Copies of Field ID Cards,
23               Bate Stamped 306
24      236.     Daily Field Activities Report
                 (06/06/98) Bate Stamped
25               307-308
26
27
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28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       237.     Daily Field Activities Report
                 (06/06/98) Bate Stamped
2                309-310
3       238.     Photos Taken by Boots
                 Tiemann (08/03/98) Bate
4                Stamped 311
5       239.     Request For Records
                 (06/18/14) Bate Stamped 312
6       240.     Incident History, Bate
7                Stamped 313
        241.     Calls For Service (06/19/14)
8
                 Bate Stamped 314-315
9       242.     Affidavit of Iris Dawson
                 (06/20/14) Bate Stamped 316
10
        243.     Request For Records
11               (06/18/14) Bate Stamped 317
12      244.     Incident History, Bate
                 Stamped 318
13      245.     Calls For Service (06/19/14)
14               Bate Stamped 319
        246.     Affidavit of Iris Dawson
15               (06/20/14) Bate Stamped 320
16      247.     Request For Radio Comm
                 (07/5/98) Bate Stamped 321
17      248.     Declaration Accompanying
18               Records In Response
                 (07/25/98) Bate Stamped
19               322-323
20      249.     Request For Radio Comm
                 (07/23/98) Bate Stamped 324
21      250.     Incident History, Bate
22               Stamped 325-326
        251.     Affidavit of Margaret Otell
23               (07/25/98) Bate Stamped 327
24      252.     Photos of Street Corner, Bate
                 Stamped 328
25
        253.     Serial Rapist Alert, Bate
26               Stamped 329
27
                                           - 21 -
28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       254.     Sketch of Suspect (06/12/98)
                 Bate Stamped 330
2       255.     Serial Rapist Alert, Bate
3                Stamped 331
        256.     Serial Rapist Alert, Bate
4                Stamped 332
5       257.     Serial Rapist Alert, Bate
                 Stamped 333
6
        258.     Order Directing Defendant to
7                Participate in a Line Up
                 (08/04/98) Bate Stamped 334
8
        259.     Blank Document, Bate
9                Stamped 335
        260.     Handwritten Notes
10
                 (08/03/98-11/04/98) Bate
11               Stamped 336-338
12      261.     Req From Detective M
                 Quijano (08/13/98) Bate
13               Stamped 339
14      262.     Handwritten Notes
                 (06/10/98) Bate Stamped 340
15      263.     Persons with Subject, Bate
16               Stamped 341
        264.     Info Req Form (06/14/98)
17               Bate Stamped 342
18      265.     Handwritten Notes
                 (06/07/98-06/10/98) Bate
19               Stamped 343-344
20      266.     Daily Crime Info (06/07/98)
                 Bate Stamped 345-347
21      267.     Arrest Report In Sequence
22               (06/12/98) Bate Stamped
                 348-361)
23      268.     Arrest Report (06/17/98)
24               Bate Stamped 362
        269.     Lineup Detail (11/04/98)
25
                 Bate Stamped 363
26
27
                                          - 22 -
28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       270.     Handwritten Notes
                 (11/04/98) Bate Stamped
2                364-365
3       271.      Witness Card (11/04/98)
                 Bate Stamped 366
4       272.     Witness Card Karen
5                (11/04/98) Bate Stamped 367
        273.     Witness Card Teresa
6                (11/04/98) Bate Stamped 368
7       274.     Witness Sign-In Sheet
                 (11/04/98) Bate Stamped 369
8
        275.     Photocopies of Live Line-up
9                (11/04/98) Bate Stamped
                 370-372
10
        276.     Handwritten Notes
11               (11/04/98) Bate Stamped
                 373-374
12
        277.     FI Report, Bate Stamped
13               375-390
14      278.     Newton Div Cover Page Bate
                 Stamped 391
15      279.     Spreadsheet Research on
16               BMS Gang (06/16/98) Bate
                 Stamped 392-394
17      280.     Newton Div Sex Registrants
18               Male Hispanic, Bate Stamped
                 395-407
19      281.     Active 290 Registrants, Bate
20               Stamped 408-413
        282.     290 Registration Report Unit
21               Master List, Bate Stamped
22               414-444
        283.     Proof Of Service Katherine
23               Finan (10/04/17) Bate
24               Stamped (not bate stamped)
        284.     Quijano M Training Info
25               Schedule (10/10/18) Bate
26               Stamped 450-452
27
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28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       285.     LAPD Detective Operations
                 Manual (09/15/86) Bate
2                Stamped 453-764
3       286.     1996 & 1997 LAPD Manual
                 (650 pages)
4       287.     LA District Attorney File in
5                Response to Subpoena (826
                 pages)
6       288.     LA Public Defenders File in
7                Response to Subpoena (19
                 pages)
8
        289.     Frank Rorie’s File (1-518,
9                519-877, 197-931)
        290.     RT People of CA v. Luis
10
                 Vargas – Sentencing hearing
11      291.     Concession briefing Los
                 Angeles District Attorneys
12
        292.     Plaintiff Luis Vargas’
13               Responses to LAPD
14               Requests for Production, Set
                 1
15      293.     Plaintiff Luis Vargas’
16               Responses to LAPD
                 Requests for Production, Set
17               2
18      294.     Plaintiff Luis Vargas’
                 Responses to Defendant
19               Quijano’s Requests for
20               Production, Set 1
        295.     Plaintiff Luis Vargas’
21               Responses to Defendant
22               Tamez’s Requests for
                 Production, Set 1
23      296.     Plaintiff Luis Vargas’
24               Responses to Defendants
                 Smith’s Requests for
25               Production, Set 1
26
27
                                          - 24 -
28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1       297.     Plaintiff Luis Vargas’
                 Responses to LAPD
2                Interrogatories
3       298.     Plaintiff Luis Vargas’
                 Responses to Quijano
4                Interrogatories
5       299.     Plaintiff Luis Vargas’
                 Responses to Tamez
6                Interrogatories
7       300.     Plaintiff Luis Vargas’
                 Responses to Smith
8                Interrogatories
9      301.      Reserved
       - -       Reserved
10
       399.      Reserved
11
12
     DEFENDANTS’ EXHIBIT LIST:
13
14
                                                         DATE           DATE
15     NO.      DESCRIPTION          OBJECTION        IDENTIFIED      ADMITTED
16      400 Serial Rape Book
17    401   Chronological Record –
            Serial Rape Book
18
      402   Crime Report-June 5,
19          1998 Incident (Teresa
            R.)
20
      403   Suspect Composite
21          Drawing for Teresa R.
            Incident
22
      404   Crime Report-May 30,
23          1998 Incident (Edith G.)
24    405   Crime Report-January
            24, 1998 Incident
25          (Deborah H.)
26
27
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28             PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1                                                      DATE           DATE
      NO.        DESCRIPTION          OBJECTION     IDENTIFIED      ADMITTED
2
      406    Suspect Composite
3            Drawing for Deborah H.
4            Incident
      407    Crime Report-February
5            3, 1998 (Karen P.
6            Incident)
      408    Crime Alert re: Teresa
7            R. and Edith G.
8            Incidents (generated by
             77th Division)
9            Suspect Crime Alert
      409
10           from LAPD’s
             Southwest Division for
11           February 3, 1997
12    410    Reports, six-pack and
             notes regarding
13           Southwest Division
14           suspect Mario Contreras
      411    Six-Pack Card “A”
15           (Mario Contreras-
16           Position #1 and Luis
             Vargas-Position #6)
17           Six-Pack Card “A” and
      412
18           corresponding Photo
             Identification Report-
19           Teresa R. dated July 16,
20           1998
      413    Six-Pack Card “A” and
21
             corresponding Photo
22           Identification Report-
             Edith G dated July 16,
23
             1998
24    414    Photograph of Luis
             Vargas taken by Officer
25
             Lewis on July 21, 1998
26    415    Six-Pack Card “B” and
27           corresponding Photo
                                       - 26 -
28           PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1                                                      DATE           DATE
      NO.        DESCRIPTION          OBJECTION     IDENTIFIED      ADMITTED
2
             Identification Report-
3            Teresa R. dated July 21,
4            1998 (Vargas-Position
             #5)
5            Six-Park Card “B” and
      416
6            corresponding Photo
             Identification Report-
7            Edith G. dated Jul 21,
8            1998 (Vargas-Position
             #5)
9            Arrest report re: Luis
      417
10           Vargas dated July 21,
             1998
11           Six-Pack Card “C” and
      418
12           corresponding Photo
             Identification Report-
13           Karen P. dated July 27,
14           1998
      419    Certified docket from
15           People v. Luis Lorenzo
16           Vargas, BA171718
      420    LAPD Follow-up
17           Report dated July 27,
18           1998
      421    LAPD Follow-up
19           Report dated August 3,
20           1997
      422    Facsimile cover sheet to
21
             Detective Quijano from
22           Detective Elzinga
             enclosing reports re:
23
             Dania V.
24    423    Note from DDA Robin
             Allen re: discovery
25
             pertaining to Dania V.
26           having been provided to
27
                                       - 27 -
28           PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1                                                      DATE           DATE
      NO.        DESCRIPTION          OBJECTION     IDENTIFIED      ADMITTED
2
             Vargas’ counsel
3            (September 12, 1998)
4     424    Live Line-up witness
             and suspect lists
5            (November 4, 1998)
6     425    WITNESS Statements
             of Karen P.; Teresa R.
7            and Dania V.
8            (November 4, 1998)
      426    Reporter’s Transcript
9            Preliminary Hearing-
10           November 17, 1998
      427    Detective Quijano’s
11           statement regarding
12           identification of Vargas
             from line-up
13           photographs by Edith G.
14           on February 16, 1999
      428    Reserved
15
      429    Informal Discovery
16           Requests by then-
17           Deputy Public Defender
             Anthony Patti to Robin
18           Allen (December 1998
19           and February 1999)
      430    Reporter's Transcript,
20           March 1999 (Rorie
21           receives Discovery from
             Quijano)
22
      431    Vargas' Motion for
23           Separate Trials
      432    Reserved
24
     233A    Vargas’ Motion for
25
             New Trial and
26           Sentencing
27
                                       - 28 -
28           PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1                                                      DATE           DATE
      NO.        DESCRIPTION           OBJECTION    IDENTIFIED      ADMITTED
2
     233B    Reporter's Transcript re:
3            Vargas' Motion for New
4            Trial and Sentencing
             (July 27, 1999)
5            LAPD Follow-up
     234
6            Report dated 9/1998, by
             Rick Tamez (Deborah
7            failure to identify
8            Vargas from DA
             digitized file)
9            LA Times article
     235
10           regarding The Tear-
             Drop Rapist, dated
11           August 8, 1999
12   236     LA Times article
             regarding The Tear-
13           Drop Rapist, dated
14           August 11, 1999.
     237     LA Times article
15           regarding The Tear-
16           Drop Rapist, dated
             August 24, 2000.
17           Audio CD – Shonte 911
     238A
18           Call
     238B    Transcript of Shonte
19           911 Call
20   239     Reserved
21   240     Reserved
22   241     Reserved
23   242     Reserved
24   243     Reserved
25   244     Reserved
26   245     Reserved
27
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28           PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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1                                                        DATE           DATE
      NO.       DESCRIPTION          OBJECTION        IDENTIFIED      ADMITTED
2
     246     Reserved
3
     247     Reserved
4
     248     Reserved
5
     249     Reserved
6
     250     Reserved
7
8
9
10   DATED: May 27, 2019                    LAW OFFICES OF JAN STIGLITZ

11                                          Jan Stiglitz /s/
                                            Jan Stiglitz, Esq.
12                                          Attorneys for Plaintiff
                                            Luis Lorenzo Vargas
13
14
15
     Dated: May 23, 2019 MICHAEL N. FEUER, City Attorney
16
                         JAMES P. CLARK, Chief Deputy City Attorney
17                       CORY M. BRENTE, Senior Assistant City Attorney
18
                         By:       /S/ - GEOFFREY PLOWDEN                        .
19                             GEOFFREY PLOWDEN, Deputy City Attorney
20
                         Attorneys for Defendants, CITY OF LOS ANGELES, et al.
21
22
23
24
25
26
27
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28           PLAINTIFF’S LOCAL RULE 16 DISCLOSURE OF EXHIBIT & WITNESS LIST

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